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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                                 Case No.: 8:17-cr-222-T-27JSS

LENIN LUGO
                                              /

                                              ORDER

       THIS MATTER is before the Court on Defendant’s Motion for an Order to Have Present

at Depositions to Preserve Testimony for Trial a Court Reporter, Interpreter(s), and a Clerk of

Court to Administer Oath to Witnesses and for Costs If Necessary. (Dkt. 98.) Upon consideration,

it is ORDERED that Defendant’s Motion for an Order to Have Present at Depositions to Preserve

Testimony for Trial a Court Reporter, Interpreter(s), and a Clerk of Court to Administer Oath to

Witnesses and for Costs If Necessary (Dkt. 98) is DENIED. Defendant may privately secure a

court reporter, interpreters, and staff to assist in the deposition as these services are not provided

by the court for the requested proceedings. To the extent counsel seeks compensation for fees and

expenses associated with the deposition, counsel is directed to consult the Criminal Justice Act

(CJA) Guidelines, Guide to Judiciary Policy, Vol. 7, Pt. A, Ch. 3, regarding authorized services

and the reimbursement of expenses of counsel. Counsel may file a motion seeking authorization

or reimbursement of such expenses, if warranted.

       DONE and ORDERED in Tampa, Florida, on November 9, 2017.




Copies furnished to:
Counsel of Record
